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                                                                                   2020 Nov-21 PM 12:26
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

D’WANNA WILLIAMS,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

EL PATRON BAR & GRILL, LLC.,

     Defendant.
__________________________________/

                                   COMPLAINT

      Plaintiff, D’WANNA WILLIAMS (“Plaintiff”) by and through the

undersigned counsel, hereby files this Complaint and sues EL PATRON BAR &

GRILL, LLC, for injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C.

§12181 et seq., (“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.      Venue is proper in this Court, the Northern District of Alabama

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pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff, D’WANNA WILLIAMS (hereinafter referred to as

“WILLIAMS”) is a resident of the State of Alabama and is a qualified individual

with a disability under the ADA. WILLIAMS suffers from what constitutes a

“qualified disability” under the Americans With Disabilities Act of 1990, (“ADA”)

and all other applicable Federal statutes and regulations to the extent that she suffers

from paraplegia and has had amputation of both of her legs and requires a wheelchair

for mobility.    Prior to instituting the instant action, WILLIAMS visited the

Defendant’s premises at issue in this matter, and was denied full, safe and equal

access to the subject properties due to their lack of compliance with the ADA.

WILLIAMS continues to desire and intends to visit the Defendant’s premises but

continues to be denied full, safe and equal access due to the barriers to access that

continue to exist.

      4.      The Defendant, EL PATRON BAR & GRILL, LLC, is a limited

liability company registered to do business and, in fact, conducting business in the

State of Alabama. Upon information and belief EL PATRON BAR & GRILL, LLC,

(hereinafter referred to as “EL PATRON”) is the owner, lessee and/or operator of

the real property and improvements that are the subject of this action, specifically:

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The El Patron Bar & Grill Mexican Restaurant located at 2911 Hwy 95 in Helena,

Alabama (hereinafter referred to as the "Restaurant").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Restaurant

owned by EL PATRON is a place of public accommodation in that it is a retail

Restaurant operated by a private entity that provides goods and services to the public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Restaurant in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Restaurant owned by EL

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PATRON. Prior to the filing of this lawsuit, Plaintiff visited the Restaurant at issue

in this lawsuit and was denied access to the benefits, accommodations and services

of the Defendant’s premises and therefore suffered an injury in fact as a result of the

barriers to access listed in Paragraph 11, below that she personally encountered. In

addition, Plaintiff continues to desire and intends to visit the Restaurant, but

continues to be injured in that she is unable to and continues to be discriminated

against due to the barriers to access that remain at the Restaurant in violation of the

ADA. WILLIAMS has now and continues to have reasonable grounds for believing

that she has been and will be discriminated against because of the Defendant’s

continuing deliberate and knowing violations of the ADA.

      10.         Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.         EL PATRON is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R.

§36.302 et seq. and is discriminating against the Plaintiff as a result of inter alia, the

following specific violations that Plaintiff personally encountered:

             i.         No van accessible parking is provided;

            ii.         No level accessible or van accessible parking spaces and adjacent

                        access aisles are provided;

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 iii.    The two parking spaces provided with some indicia of

         accessibility with a shared access aisle between them are all

         located on excessive running slopes for a wheelchair user to

         safely enter and exit a vehicle;

 iv.     The two parking spaces provided with some indicia of

         accessibility lack raised signs to designate them as accessible;

  v.     No wheelchair accessible seating positions are provided at the

         bar;

 vi.     The Women’s toilet room contains a water closet with a flush

         valve that faces the narrow side of the toilet room, out of reach

         of a wheelchair user;

vii.     The Men’s and Women’s toilet room lavatory hot water and

         drain pipes are not insulated;

viii.    The mirrors in the Men’s and Women’s toilet rooms are too high

         for a wheelchair user;

 ix.     The Men’s and Women’s toilet room entry doors are equipped

         with knob-style hardware that require tight grasping and twisting

         of the wrist to operate;




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            x.      The Men’s and Women’s toilet room are not designated with

                    accessible signage.


      12.    There are other current barriers to access and violations of the ADA at

the Restaurant owned and operated by EL PATRON that were not specifically

identified herein as the Plaintiff is not required to engage in a futile gesture pursuant

to 28 C.F.R. Part 36, §36.501 and, as such, only once a full inspection is performed

by Plaintiff or Plaintiff’s representatives can all said violations be identified.

      13.    To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions of the ADA.

      14.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

EL PATRON was required to make its Restaurant, a place of public accommodation,

accessible to persons with disabilities by January 28, 1992. To date, EL PATRON

has failed to comply with this mandate.

      15.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s

fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.




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      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against EL PATRON and

requests the following injunctive and declaratory relief:

             A.     That the Court declare that the property owned and
                    administered by Defendant is violative of the ADA;

             B.     That the Court enter an Order directing Defendant to alter
                    its facilities to make them accessible to and useable by
                    individuals with disabilities to the full extent required by
                    Title III of the ADA;

             C.     That the Court enter an Order directing Defendant to
                    evaluate and neutralize its policies and procedures towards
                    persons with disabilities for such reasonable time so as to
                    allow them to undertake and complete corrective
                    procedures;

             D.     That the Court award reasonable attorney’s fees, costs
                    (including expert fees) and other expenses of suit, to the
                    Plaintiff; and

             E.     That the Court award such other and further relief as it
                    deems necessary, just and proper.

      Dated this 20th day of November, 2020.


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                                        Respectfully submitted,

                                        By: /s/ Edward I. Zwilling
                                        Edward I. Zwilling, Esq.
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